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                        EXHIBIT E
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August22 ,2017

Honorable Percy Anderson
United States District Judge
350 W. 1 st Street, Courtroom 9 A, 9 th Floor
Los Angeles, CA 90012


Your Honor,

My name is Anthony Mirando, father of Michael Mirando, who will be appearing in front of you
for sentencing. I am now retired and my 40+ year career was in the Consumer Electronics
Industry where I was an Vice President of Sales and marketing for major Electronics
Corporations. Prior to my career in the electronics industry I was in the US Army and proudly
served in Vietnam as an Infantry Sergeant from 1967-1968 to defend my country.

I would like to share what Michael has done with his life. He is the most caring, considerate
and loving person I know, He has helped many people in his life. Michael has always strived
to be there when someone is in need. He saved a person's life when he witnessed a
motorcycle accident. He quickly administered lifesaving CPR while calling 911 and continued
CPR until the Paramedics arrived. This saved that mans' life. The city of Aliso Viejo awarded
Michael with a certificate. The mother of the accident victim cried and thanked Michael for
saving her sons life. Michael also helped numerous skiers when volunteering to work, for
free, at the Bear Mountain Ski Resort in CA. Michael also is a Scuba Diver with a Level 3
Instructor rank. He has taught literally hundreds of adults and children the joys of Scuba. In
addition to this he volunteered at the Monterey Aquarium and the Long Beach Aquarium
doing shows for the audience 1 day a week.
Michael also has a special place in his heart for Veterans. He has gone to VA Hospitals with
$3,000 in $20.00 bills and a note of Thank You For Your Service to those patients. Also in his
business at Holter Labs he would waive the costs involved for veterans who were unable to
afford his services. This is a man who cares about his fellow man.

Michael now knows that he made a mistake. He regrets this and he regrets what it has done
to all who know him and love him. I have seen Michael breakdown and cry over this situation.
He now knows and accepts that he was wrong and if given the chance he would do things
differently. After the verdict, Michael closed the company Holter Labs, LLC within a week.
All I ask is that you look upon Michael as a loving father of his 2 year old son, a dedicated
Husband and that he has so much remorse for what he has done that you take this into
consideration on sentencing. I do not know what we would do without him.

Respectfully yours,



Anthony J. Mirando
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  August 24, 2017


  Honorable Percy Anderson
  United States District Judge
  350 W. 1st Street, Courtroom 9A, 9th Floor
  Los Angeles, CA 90012


  Dear Judge Anderson, I am writing this letter on behalf of my next-door neighbor and friend,
  Michael Mirando. I have known Mike for approximately six years since he moved to Portland,
  Oregon with his wife Sarah. During that time, I have also gotten to enjoy his little son Jaxen.

  I consider Mike the type of neighbor that enhances a neighborhood and community. He is very
  gregarious and open to meeting new people with his warm personality. He usually takes the
  initiative to get to know someone and-in my opinion-is colorblind. It does not matter whether
  you are African American, Asian, Mexican, etc ... he treats everyone the same. Over the years
  we have been invited to BBQs / pot-lucks at his home where everyone has a good time-adults
  and children. Since then, many of the neighbors have started returning the social gatherings by
  inviting neighbors to their home. He has been a major influence to neighborhood friendliness.

  I have had several instances of where I had to call on him to give me a helping hand-being 30
  years his senior, I cannot always do things by myself anymore. If it's just holding a ladder while
  cleaning my gutters, or helping me get my car back up the hill during a snowstorm, he is more
  than willing to help out. The type of neighbor that you want to have in your community. I can
  remember that snowstorm just a couple of years ago where I could not get my SUV back up the
  hill to my garage. After struggling for a while, I called Mike-luckily, he was home-to ask if he
  could help me get my car back up the hill. Or at least parked in a safe area to wait things out.
  He came out to help within five minutes and stayed with me until we were able to get the car
  safely in my garage. Well over an hour or so in the very cold weather--while other neighbors
  watched from their windows. Definitely a good neighbor and the type of friend a person is
  fortunate enough to have.

  I am a U.S. Navy veteran, and have volunteered for several organizations since retiring­
  Referee for the U.S.T.A., homeowners association Vice President, etc... and currently a District
  Staff Officer with the U.S.C.G. Auxiliary. I have a pretty good gut feel about people. And Mike
  is a good person. I also know that people make mistakes. If you feel you can show Mike any
  mercy during his sentencing, it would be deeply appreciated by me and I would imagine our
  neighborhood as well.

  Thank you for your consideration,

  John Costic
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                                      A LETTER FROM THE DESK OF
                                             MICHAEL A. DEROSE




       August 21, 2017



       Honorable Percy Anderson
       United States District Judge
       350 W. 1st Street, Courtroom 9A, 9th Floor
       Los Angeles, CA 90012



        Dear Judge Anderson;
        I am writing this letter in support of Michael Mirando. I am hoping that my experiences with
        Michael will be taken Into consideration when making your decision for his sentencing on
        October 16, 2017.
       My name is Michael A. DeRose and I reside with my family in both Manhattan, New York and
       Easton, Connecticut. I am the Chairman / CEO of Park Avenue Venture Group, Ltd. and it's
       affiliated companies located at 100 Park Avenue, 16th Floor New York, N Y 10017. I started my
       company in 2004 after 5 years of working for a Midslze FCM / Commodities Brokerage Firm in
       Manhattans financial district
       My experience includes the employment of over 100 brokers and employees since 2004 that have
       serviced well over 1500 clients through more than one of the affiliated companies of Park Avenue
       Venture Group, Ltd., ( Mainly Park Avenue Asset Management Inc., Park Avenue Investment
       Advisor's LLC & Park Avenue Property Group)
       These 3 affiliated companies of Park Avenue Venture Group Ltd. fall under the heavily regulated
       governing bodies of the CFTC, The NFA (National Futures Association) and the State of NY -
       Dept. of Licensing Services. In 20 years that I have been in the Investment Industry I feel that I
       have become an excellent judge of character and have developed an uncanny ability to read
       people, their intensions and their ability to develop and maintain relationships both on a personal
       level and a professional level. All Employees of mine have gone thorough background checks
       and licensing requirements as well as continuing education mandates while buildIng their careers
       and representing my firm(s).
       It Is very rare that I have recommended and or sponsored someone for the purpose of licensing
       and employment with my firm (s) only to find out after thorough vetting that they are not the type
       of person I want in my organization. That being said, I feel that my first impressions of someone
       and my continued retationshlp(s) thereafter have served In my best Interest both professional and
       personally throughout my career.
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       I first met Michael Mirando through a very good friend of mine on an annual ski trip In Utah that I
       have been going to for many years. Michael Mirando and this mutual friend grew up together and
       have been very good friend for better part of their lives.
       Over the past several years my relationship with Michael has been a complete pleasure.
       My only regrets have been that we do not get a chance to spend more time together as a result of
       Michael residing on the West Coast and myself and family residing in the East Coast. We have
       developed a very strong long distance relationship and speak often on the phone We get a
       chance see other two or three times a year on, ski trips and vacations.I have also had the
       privilege of spending time With his wife Sarah and him as well as other members of his immediate
       family who reside in NJ when he has visited them in the NYC area.
       I truly believe that the family and the friends of someone say a lot of a persons character And
       the friendships and acquaintances that I have made through Michael have been a welcomed
       addition to my life
       To be completely honest with you, when Michael first detailed the events that lead to the courts
       decision I was shocked. The allegations and conviction are completely out of character to my
       belief of Michael as a result of our friendship over the past many years.
       I have a very hard time believing that Michaels buSiness decisions over the past several years
       that have lead to his current oonviction were calculated and intentionally misleading.
       I do not acknowledge that I know the "Nuts & Botts· of the business that Michael was Involved in
       as it is not my avenue of expertise. However, based on my basic understanding of that industry in
       whole, I firmly believe that there had to be some oonfusion and or misunderstanding In the proper
       procedures being Implemented by Michael that resulted in his current situation.
       My understanding is that Michael's prior legal oounsel had not served him well, In the time
       oonsuming and tedious courtroom battle that Michael recently went through In an attempt to
       defend his actions and property explain how this unfortunate situation came about over time.
       It is unfortunate that all too often, Incompetent & unprepared legal teams have resulted in
       oountless oonvictions to far too many good people resulting in life changing situations that have
       been extremely harsh and should have been much more lenient with an end result more
       favorable based on the Individuals true character and the type of person they really are.
        Michael Is good man, with a beautiful wife and young son as well as great family and friends that
        many less fortunate people envy & strive to have in their lives.
       I believe with all my heart that this terrible situation that Michael currently finds himself in has been
       a very harsh learnIng experience that comes at a time in a person life when everything and
       everyone around you seems like a dream come true.
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       I am confident (based on my knowledge & experiences, friendship etc.) that when Michael
       emerges from this unfortunate chapter in is life and is able to restart the personal life he has
       made for himself, he will do so in the manner for which I have grown accustomed to as a result of
       of our friendship. His family and friends will pick up exactly where we left off and look forward to
       the type of relationship we have all grown accustom to with Michael.


       As you well know life is very hard, and there are many obstacles we all face on a daily bases both
       professionally and personally. I believe that when you have the privilege of finding a handful of
       people that make life that much easier through real solid relationships & great experiences, you
       support them and do everything you can to keep that relationship strong. I am proud to say that
       Michael ls one of those handful of people that l am happy to call my friend.


        Respectfully,
                          _.,,--�
       ,-- -----<-_\.--.::::_
        Michael A. DeRose
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                     Godes&PreisLLP
  Joseph M. Preis




                                             August 22, 2017


  Honorable Percy Anderson
  United States District Judge
  U.S. District Court, Central District of California
  350 W. 1st Street, Courtroom 9A, 9th Floor
  Los Angeles, CA 90012

                    Re:   The Sentencing of Mr. Michael Mirando

   Dear Judge Anderson:

           I write to the Court today to respectfully share a glimpse of my perspective on the character
   of Mr. Michael Mirando ("Mike"), for your Honor's consideration in passing sentence. I have
   known Mike for the better patt of the past five years, both personally and professionally. We met
   through a mutual friend at a time when Mike needed legal representation on the civil side, and
   quickly became friends. Our families have attended social functions together, including a Marine
   Corps Ball 1 which I co-host each year in Dana Point, and Julie (my wife) and I truly love Mike and
   Sarah (Mike's wife), and their two (2) year old son Jaxen. Mike and Sarah moved to Oregon a few
   years back in an effort to pursue a slower lifestyle and start a family, and we have missed having
   them being locally available for family events and other social gatherings.

          Like any close personal relationship, Mike and I have had good days, and also disagreement,
   while discussing business, family and of course sports (Mike is unfortunately a misguided fan of the
   N.Y Giants). Regardless, Mike has always impressed me as a strong family man, dedicated to his
   wife, and a particularly devoted and .affectionate father to their young son Jaxen. On the
   professional side, I have come to know Mike as a hardworking entrepreneur, who wants nothing
   more than to provide for his family, and give his son a better life than he had - an aspiration shared
   by most parents I am sure. Despite the stress of civil litigation which certainly took its toll, Mike


           1
           I am a former Marine (1990-1994 and 2002-2005) and had the great honor of serving our
   Country in Desert Storm and Somalia.




   Orange County                                        San Diego
   300 Spectrum Center Drive, Suite 1420                12636 High Bluff Drive, Suite 200
   Irvine, California 92618                             San Diego, California 92130
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  occasions to assist those in need. To this day, the first aid back pack, is there. If you or a loved
  one was in a circumstance that needed help .... you would be happy to see Michael.

  He has made me proud in many ways but never as much as the time he saved the life of a
  stranger who was in a single motorcycle accident. Michael did not tum away, he saved this
  man's life. He received an award at an official ceremony in Aliso Viejo, CA. for doing so. Not
  that Michael wanted an award or praise because the ''thank you for saving my son" from the
  accident victim's Mother was enough. She hugged Michael with happy tears in her eyes. As a
  Mom myself, I will never forget that look in her eyes.

  Michael knows the wrong he has done, the sadness and shame are in his eyes where once
  happiness shown through. As his Mom I miss the person who is in there .... he has told me many
  times that he regrets any wrong doing and learned his lesson, the hard way. He would just like
  to "live" again, never to do harm to anyone and take his son to the park. The guilt will be with
  him always, he has learned his lesson, and he must live with that.

  Please allow Michael, his wife Sarah and their son Jaxen be a happy family again. They love
  and need each other so much.

  I think every Mom loves their children unconditionally but I also LIKE Michael.
  He makes me smile.
  Please give me back my son and our smiles.

  Thank you for taking the time to read this letter.



  Respectfully yours,




  Joann Mirando
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                                        J. Gregory Brown

  August 24, 2017



  Honorable Percy Anderson
  United States District Judge
  350 W. 1st Street
  Courtroom 9A, 9th Floor
  Los Angeles, CA 90012



  Dear Judge Anderson,

  I am writing this letter in support of Mr. Michael Mirando with the hope that you will strongly
  consider my collective experiences with him when making your sentencing decision.

  My name is Greg Brown and I reside in Long Beach, California. I am a life insurance broker and
  own my own firm, named J. Gregory Brown Insurance Services. I have been in the insurance
  business since April of 1973. In 1989 I founded a Property & Casualty agency and the business
  grew in size such that in 2003, I merged the property and casualty business with a publicly
  traded insurance agency, Brown and Brown. They are currently the sixth largest insurance
  brokerage In the world. I was president of Brown and Brown of California for approximately five
  years. Some of my clients are prominent worldwide. Through all of these years I have gained
  extensive experience in dealing with individuals and business owners

  I met Michael in approximately 2009 at a car show type event. We became friendly and
  developed a close personal and working relationship. In my experience as a life insurance
  agent, I have come to understand the importance of one's character. In all my dealings with
  Michael, he has exhibited great character. Michael and I have a number of common interests -
  cars being one of them. We would quite often go for a drive and stop at a restaurant that had an
  outside patio that permitted cigars. We would talk for hours about our common interests and
  enjoy the food and a cigar. During this time he introduced me to his now wife, Sarah Mirando,
  and we would socialize frequently with him and his wife. Additionally, my wife and I had the
  pleasure of being guests at Michael and Sarah Miranda's wedding in Portland, Oregon, and
  always enJoyed their company. I have also had the opportunity of meeting Michael's parents. I
  know that they are a very close family, and Michael and his father worship one another. I can't
  tell you how distraught his mother and father are over this situation that Michael has gotten
  himself into. Michael and I have had countless conversations and he has told me that in many
  ways I am like a second father to him. I have grown to feel also as if he Is a third son of mine.
  Michael and I would have many conversations where he would ask me for advice and we would
  speak for the longest time at a very personal level. In my dealings with people, I have found
  that people who, on their own, seek to buy life insurance are generally people of good character.
  Michael did this and he told me he wanted to make sure that his wife, Sarah, and later his son,
  Jaxson, would be well cared for in the event Michael was not there to care for them himself. I
  have a great deal of respect for Michael (except for this problem at hand) because in every
  dealing, both personal and business, he has shown the
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      a friend. I truly believe both his bad choices and decision making were him thinking
      about how he didn't want to let down his wife and parents; when in reality they just
      needed Mike to be Mike. I've talked to him at length over the past few months and it is
      clear that he truly wants to take responsibility for his troubling actions and has said on
      multiple occasions that he would like to "take his lumps" as deserved and then focus on
      rebuilding his life with his wife and his 3 year old son. That is all that is important to him
      now.


      When Mike started the business at Holter Labs I know he did it with a neighbor learning
      the ropes from him but it is clear he didn't do his due diligence on how the industry
      works. That combined with many poor decisions has left Mike with the situation he is in
      and must take responsibility for. There is no arguing that point and as I mentioned Mike
      is ready to do that. I just felt it important to share my thoughts on the Mike I know and
      have known for over 15 years. He has been and always will be a good person. He's
      demonstrated that throughout his life. I just hope reading this allows you to see him in a
      light that was not present during the trial. I know you probably get many of these letters
      so I thank you for taking the time to listen.



      Respectfully yours,


      *****Sign here*****
      Gianni G. Ferrise
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